

People v Wilson (2024 NY Slip Op 06014)





People v Wilson


2024 NY Slip Op 06014


Decided on December 03, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 03, 2024

Before: Manzanet-Daniels, J.P., Gesmer, Shulman, Rodriguez, Michael, JJ. 


Ind. No. 961/17 Appeal No. 3137 Case No. 2019-05514 

[*1]The People of The State of New York, Respondent,
vSteven Wilson, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Mary-Katheryn Smith of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Christian Rose of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Ann E. Scherzer, J.), rendered January 28, 2019,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 3, 2024
Counsel for appellant is referred to
§ 606.5, Rules of the Appellate Division,
First Department.








